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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  BRADY CENTER TO PREVENT GUN
  VIOLENCE,

                  Plaintiff,
                                                   Civil Action No. 17-2130 (RDM)
                           v.

  U.S. DEPARTMENT OF JUSTICE, et al.,

                  Defendants.


                      NOTICE OF WITHDRAWAL OF APPEARANCE

       The Clerk of the Court will please withdraw the appearance of Assistant United States

Attorney Brenda González Horowitz as counsel of record for the Defendants in the above-

captioned case.


                                           Respectfully submitted,


                                            __/s/_____________________________
                                           BRENDA GONZÁLEZ HOROWITZ
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 16, 2021, I served the foregoing Notice of Withdrawal

of Appearance upon Plaintiff by this Court’s Electronic Case Filing System (ECF).




                                            __/s/_____________________________
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